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 6

 7                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 8
                                                            Case No.
 9

10                                                          COMPLAINT FOR DAMAGES
      BRIAN DAVIS,
11                                                          1. VIOLATION OF THE FAIR DEBT
                         Plaintiff,
                                                            COLLECTION     PRACTICES           ACT
12                                                          PURSUANT TO 15 U.S.C. § 1692, et seq.
             v.
13
      PORTFOLIO RECOVERY ASSOCIATES,
14    LLC,                                                  JURY TRIAL DEMANDED

15                       Defendant.

16                                              COMPLAINT
17
            NOW COMES, BRIAN DAVIS (“Plaintiff”), by and through his counsel, Nicholas M.
18
     Wajda, and asserts the following claims against PORTFOLIO RECOVERY ASSOCIATES, LLC
19
     (“Defendant”), as follows:
20
21          I. Parties, Jurisdiction and Venue

22          1.      Plaintiff is a resident of Bakersfield, California and brings this action seeking redress

23   for violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.
24          2.      Defendant is a Delaware corporation, headquartered in Norfolk, Virginia, and
25
     authorized to conduct business in this state.
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 1           3.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6). Defendant
 2   purchases defaulted consumer debts and it principal purpose is the purchase and collection of
 3
     defaulted debts.
 4
             4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts
 5
     business in this District, Plaintiff resides in this District, and a substantial portion of the events or
 6

 7   omissions giving rise to the claims occurred within this District.

 8           II. Facts Supporting Cause of Action

 9           5.      After experiencing personal hardships, Plaintiff defaulted on a credit card issued by
10
     Capital One Bank (USA), N.A. (the “Subject Debt”).
11
             6.      Plaintiff is a “consumer” as defined by § 1692a(3) of the FDCPA because the
12
     Subject Debt was for Plaintiff’s personal and household use.
13
             7.      After Plaintiff defaulted on the Subject Debt, Capital One Bank (USA), N.A., the
14

15   Subject Debt was eventually sold by Capital One Bank (USA), N.A. and purchased by Defendant.

16           8.      Defendant mailed a collection letter to Plaintiff in an attempt to collect the Subject
17   Debt (the “Collection Letter”).
18
             9.      The Collection Letter states “[t]his communication is from a debt collector and is an
19
     attempt to collect a debt.”
20
             10.     The Collection Letter was dated August 16, 2018, but as discussed in the following
21

22   section, the Collection Letter was not mailed by Defendant or any third-party vendor on that date.

23           11.     The Collection Letter identified an “Account Number” and listed Capital One Bank

24   (USA), N.A. as both the “Seller” and the “Original Creditor” of the Subject Debt.
25           12.     The Collection Letter identified Portfolio Recovery Associates, LLC as the
26
     “Creditor to Whom Debt is Owed”.
27
             13.     The Collection Letter listed a “Balance” of $983.60.
28
                                                         2
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 1          16.     The Collection Letter provided Plaintiff with the option of “Pay[ing] the Full
 2   Balance in “1 Payment of $983.60, “6 Monthly Payments of $163.93*”, or “12 Monthly Payments
 3
     of $81.96*”.
 4
            17.     If Plaintiff paid the full balance of $983.60 under any of the three options listed
 5

 6   above, the Collection Letter stated that his “account will be considered ‘Paid in Full’ after your

 7   final payment is successfully posted.”

 8          18.     The Collection Letter provided Plaintiff with the option of paying down the debt of
 9   through a “Savings Plan” which was broken down into three (3) payment options.
10
            19.     The first savings plan option indicated that Plaintiff could make one (1) payment of
11
     $590.16 and “SAVE $393.44*”.
12

13          20.     The second savings plan option indicated that Plaintiff could make three (3)

14   consecutive monthly payments of $199.68 to “SAVE $384.56*”, resulting in a total payment amount

15   of $599.04.
16
            21.     The second savings plan option indicated that Plaintiff could make three (3)
17
     consecutive monthly payments of $199.68 to “SAVE $384.56*”, resulting in a total payment amount
18
     of $599.04.
19

20          22.     The three (3) identified savings plan amounts were written in red ink on the face of

21   the Collection Letter.

22          23.     The asterisk (“*”) reflected after each of the three (3) identified savings plan
23
     proposals and two (2) the full balance options lead to the phrase “We are not obligated to renew
24
     this offer.”
25
            24.     The Collection Letter stated that “Your first payment must be received by:
26
     09/17/2018”.
27

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     Case 1:19-cv-01145-LJO-JLT Document 1 Filed 08/20/19 Page 5 of 22

 1            25.        The Collection Letter contains the following language below where the Collection
 2   Letter identified where to visit Defendant to make a payment and how to contact Defendant by
 3
     phone or mail:
 4
              The law limits how long you can be sued on a debt. Because of the age of your debt, we will not sue you for it. IF you do not pay
              the debt, Portfolio Recovery Associates, LLC may continue to report it to the credit reporting agencies as unpaid for as long as
 5            the law permits this reporting. Depending on the laws of your state, certain actions, such as making a payment or promising to
              pay the debt, may restart the time period for the filing of a lawsuit against you; but even if that were the case, we will not sue
 6            you on this debt.


 7   (hereafter the “Time-Barred Debt Disclosure Language”).
 8            26.        The Time-Barred Debt Disclosure Language is depicted in the below image:
 9

10

11

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13

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15            27.        On or about September 8, 2018, Defendant reported the Subject Debt to Equifax in
16
     an amount of $984.
17
              28.        Under California law, the statute of limitations for collecting credit card debt is four
18
     years.
19
              29.        The last payment toward the Subject Debt took place occurred at least four years
20
21   prior to August 16, 2018.

22            30.        As of August 16, 2018, Defendant believed that the last payment date towards the
23   Subject Debt took place more than four years prior to August 16, 2018.
24
              31.        As of August 16, 2018, Defendant believed that the date of first delinquency of the
25
     Subject Debt took place more than four years prior to August 16, 2018.
26

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     Case 1:19-cv-01145-LJO-JLT Document 1 Filed 08/20/19 Page 6 of 22

 1          32.     On August 16, 2018, Defendant represented to Plaintiff that Subject Debt was older
 2   than four years old because the Collection Letter informed Plaintiff, “because of the age of your
 3
     debt, we will not sue you for it.”
 4
            33.     Based upon what was stated on the face of the Collection Letter, the last payment
 5
     made toward the Subject Debt had to have taken place prior to August 16, 2014.
 6

 7          34.     Defendant, however, reported to Equifax that the “Date of First Delinquency” for

 8   the Subject Debt was March 1, 2015.

 9          35.     Plaintiff’s Equifax credit report of September 21, 2018, states that the “Date of First
10
     Delinquency” for the Subject Debt was March 1, 2015.
11
            36.     A true and accurate portion of Plaintiff’s Equifax credit report of September 21,
12
     2018, which identifies the Subject Debt is depicted below:
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 1          37.     Defendant reported to Equifax that Defendant had opened an account associated
 2   with the Subject Debt on October 21, 2016.
 3
            38.     Plaintiff’s Equifax credit report of September 21, 2018, states that the Defendant’s
 4
     account associated with the Subject Debt was “Opened” on October 21, 2016.
 5
            39.     Plaintiff’s Equifax credit report of September 21, 2018, states that the “delinquency”
 6

 7   of Subject Debt was “First Reported” to Equifax by Defendant on January 1, 2017.

 8          40.     Defendant first reported the subject debt to Equifax on January 1, 2017.

 9          41.     Defendant informed Equifax that the “Creditor Classification” for the Subject Debt
10
     was “BANKING”.
11
            42.     Alternatively, Defendant provided information to Equifax regarding the Subject
12
     Debt which led Equifax to identify the “Creditor Classification” for the Subject Debt as involving
13
     “BANKING”.
14

15          43.     On information and belief, Defendant falsely reported to Equifax on September 8,

16   2018, that the “Date of First Delinquency” for the Subject Debt was March 1, 2015, when the date
17   of the first delinquency took place on an earlier date, because account information obtained from
18
     the original creditor for the Subject Debt should have reported an older date of first delinquency.
19
            44.     Further, Defendant knew or should have known that the disclosing to any credit
20
     reporting agency that the “Date of First Delinquency” for the Subject Debt was March 1, 2015,
21

22   would have undermined the validity of the Time-Barred Debt Disclosure Language and rendered it

23   in applicable to the Subject Debt in relation to the purported date of the Collection Letter.

24          45.     If Defendant reported to Equifax that March 1, 2015, was the date of the first
25   delinquency of the Subject Debt, the Subject Debt would not be time-barred under California law
26
     as of August 16, 2018.
27

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 1          46.     If Defendant reported to Equifax that March 1, 2015, was the date of the first
 2   delinquency of the Subject Debt, the Subject Debt would not be time-barred under California law
 3
     until after March 1, 2019.
 4
            47.     The Collection Letter incorrectly, falsely and misleadingly informed Plaintiff that
 5
     the Subject Debt was time-barred as August 16, 2018.
 6

 7          48.     Alternatively, on September 8, 2018, Defendant falsely reported to Equifax that the

 8   “Date of First Delinquency” for the Subject Debt was March 1, 2015.

 9          49.     The Time-Barred Debt Disclosure Language should not have been included on the
10
     Collection Letter if the statute of limitations has not expired on the subject debt.
11
            50.     The Time-Barred Debt Disclosure Language did not disclose to Plaintiff that a
12
     partial payment could serve to restart the statute of limitations upon which to sue Plaintiff if the
13
     “Date of First Delinquency” for the Subject Debt was March 1, 2015.
14

15          51.     If Defendant falsely reported to Equifax on September 8, 2018, that the “Date of

16   First Delinquency” for the Subject Debt was March 1, 2015, when the date of the first delinquency
17   took place on an earlier date, Defendant falsely reported the Subject Debt in this manner to allow
18
     Defendant to re-age the debt to provide it with a longer time period in which to credit report the
19
     Subject Debt, and in doing so Defendant violated Sections 1692e, 1692e(2)(A), 1692e(10) and
20
     1692f of the FDCPA.
21

22          52.     A falsely reported the “Date of First Delinquency” is a material piece of credit

23   information.

24          53.     A falsely reported the “Date of First Delinquency” in conjunction with the use of
25   Time-Barred Debt Disclosure Language is a material misrepresentation where the true date of the
26
     Subject Debt’s first delinquency can impact whether the Subject Debt is truly time-barred.
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 1           54.     A falsely reported the “Date of First Delinquency” in conjunction with the use of
 2   Time-Barred Debt Disclosure Language is a material misrepresentation where the true date of the
 3
     Subject Debt’s first delinquency can impact whether the Subject Debt is truly time-barred and could
 4
     influence a consumer's decision to pay or not pay a debt.
 5
             III. The Collection Letter Was Not Mailed to Plaintiff on August 16, 2018
 6

 7           55.     When Defendant contacts debtors by way of collect letters, the envelopes that are

 8   used to mail the letters are not stamped with a mailing date by and through a postage meter.

 9           56.     As a general matter, some debt collectors mail out collect letters days or weeks after
10
     the printed date on the face of the letter.
11
             57.     Debt collectors mail out collect letters days or weeks after the printed date on the
12
     face of the letter to shorten the time period that a debtor has to respond to a settlement offer or
13
     settlement offers that are subject to an expiration date.
14

15           58.     August 16, 2018, fell on a Wednesday.

16           59.     Upon information and belief, the Collection Letter was not mailed to Plaintiff on
17   August 16, 2018.
18
             60.     Rather, pursuant to industry practice wherein collection letters are printed by third-
19
     party vendors and mailed days or weeks after the date printed on any given collection letter, the
20
     Collection Letter was not mailed to Plaintiff on August 16, 2018.
21

22           61.     Further, based upon the time-period in which the Collection Letter was received by

23   Plaintiff, the Collection Letter was not mailed to Plaintiff on August 16, 2018.

24           62.     To the best of Plaintiff’s recollection, the Collection letter was received by Plaintiff
25   more than one week after August 16, 2018.
26

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 1          63.      On information and belief, the Collection Letter was not mailed to Plaintiff on
 2   August 16, 2018, to purposefully shorten the time period that Plaintiff had to respond to a settlement
 3
     offers listed on the Collection Letter.
 4
            64.      If the Collection Letter was not mailed to Plaintiff on August 16, 2018, and was
 5
     mailed up to a week after August 16, 2018, the actual mailing improperly and materially shortened
 6

 7   the time period that Plaintiff had to respond to a settlement offers listed on the Collection Letter.

 8          65.      On information and belief, Defendant mailed over forty (40) form collection letters

 9   similar to the one sent to Plaintiff to residents of California where the collection letters were mailed
10
     over a week after their identified date.
11
            IV. Causes of Action
12
                  Count I – Individual Claim for Violation of Section 1692e
13
            66.      Plaintiff incorporates the above Paragraphs as if fully set forth within this Count.
14

15          67.      Defendant violated Section 1692e of the FDCPA.

16          68.      The Time-Barred Debt Disclosure Language violates Section 1692e of the FDCPA
17   and constitutes a “false, deceptive, or misleading representation or means in connection with the
18
     collection of [a] debt” because Time-Barred Debt Disclosure Language did not disclose to Plaintiff
19
     that a partial payment could serve to restart the statute of limitations upon which to sue Plaintiff if
20
     the “Date of First Delinquency” for the Subject Debt was March 1, 2015.
21

22          69.      Defendant’s violation of Section 1692e of the FDCPA was material because the

23   Time-Barred Debt Disclosure Language improperly influenced Plaintiff’s payment options and

24   failed to properly explain Plaintiff’s rights to him.
25          70.      Further, Defendant’s false reporting of the “Date of First Delinquency” allowed
26
     Defendant to re-age the Subject Debt and mischaracterized the age of the Subject Debt relative to
27
     the running of the statute of limitations upon which it could sue Plaintiff for the Subject Debt.
28
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 1      Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
 2   judgment in his favor and against Defendant as follows:
 3
                  a.       Declaring that the practices complained of above are unlawful and
 4                         violate Section 1692e of the FDCPA;

 5                b.       Awarding Plaintiff statutory damages of $1,000.00 as provided under
                           15 U.S.C. §1692k(a)(2)(A); and
 6
                  c.       Awarding Plaintiff costs and reasonable attorney fees as provided
 7                         under 15 U.S.C. §1692k(a)(3).
 8
                  Count II – Individual Claim for Violation of Section 1692e(2)(A)
 9
            71.        Plaintiff incorporates the above Paragraphs as if fully set forth within this Count.
10
            72.        Defendant violated Section 1692e(2)(A) of the FDCPA.
11

12          73.        If Defendant falsely reported to Equifax on September 8, 2018, that the “Date of

13   First Delinquency” for the Subject Debt was March 1, 2015, when the date of the first delinquency

14   took place on an earlier date, Defendant’s report to Equifax constitutes a “false representation of .
15   . . the character [and] legal status of” the Subject Debt in violation of Section 1692e(2)(A) of the
16
     FDCPA.
17
            74.        The Time-Barred Debt Disclosure Language constitutes a “false representation of .
18
     . . the character [and] legal status of” the Subject Debt in violation of Section 1692e(2)(A) of the
19

20   FDCPA because Time-Barred Debt Disclosure Language did not disclose to Plaintiff that a partial

21   payment could serve to restart the statute of limitations upon which to sue Plaintiff if the “Date of

22   First Delinquency” for the Subject Debt was March 1, 2015.
23
            75.        Defendant’s violation of Section 1692e(2)(A) of the FDCPA was material because
24
     the Time-Barred Debt Disclosure Language improperly influenced Plaintiff’s payment options and
25
     failed to properly explain Plaintiff’s rights to him.
26

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 1          76.      Further, Defendant’s false reporting of the “Date of First Delinquency” allowed
 2   Defendant to re-age the Subject Debt and mischaracterized the age of the Subject Debt relative to
 3
     the running of the statute of limitations upon which it could sue Plaintiff for the Subject Debt.
 4
        Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
 5
     judgment in his favor and against Defendant as follows:
 6

 7                   a. Declaring that the practices complained of above are unlawful and
                        violate Section 1692e(2)(A) of the FDCPA;
 8
                     b. Awarding Plaintiff statutory damages of $1,000.00 as provided under
 9                      15 U.S.C. §1692k(a)(2)(A); and
10                   c. Awarding Plaintiff costs and reasonable attorney fees as provided under
                        15 U.S.C. §1692k(a)(3).
11

12                Count III – Individual Claim for Violation of Section 1692e(8)

13          77.      Plaintiff incorporates the above Paragraphs as if fully set forth within this Count.

14          78.      Defendant violated Section 1692e(8) of the FDCPA.
15          79.      If Defendant falsely reported to Equifax on September 8, 2018, that the “Date of
16
     First Delinquency” for the Subject Debt was March 1, 2015, when the date of the first delinquency
17
     took place on an earlier date, Defendant’s report to Equifax constitutes the communication of
18
     “credit information” that it knew or should have known “to be false” in violation of Section
19

20   1692e(8) of the FDCPA.

21          80.      Defendant’s violation of Section 1692e(8) of the FDCPA was material because

22   Defendant’s false reporting of the “Date of First Delinquency” allowed Defendant to re-age the
23
     Subject Debt and mischaracterized the age of the Subject Debt relative to the running of the statute
24
     of limitations upon which to sue for the Subject Debt.
25
        Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
26
     judgment in his favor and against Defendant as follows:
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 1                   a. Declaring that the practices complained of above are unlawful and
                        violate Section 1692e(8) of the FDCPA;
 2
                     b. Awarding Plaintiff statutory damages of $1,000.00 as provided under
 3
                        15 U.S.C. §1692k(a)(2)(A); and
 4
                     c. Awarding Plaintiff costs and reasonable attorney fees as provided under
 5                      15 U.S.C. §1692k(a)(3).

 6                Count IV – Individual Claim for Violation of Section 1692e(10)
 7          81.      Plaintiff incorporates the above Paragraphs as if fully set forth within this Count.
 8
            82.      Defendant violated Section 1692e(10) of the FDCPA.
 9
            83.      If Defendant falsely reported to Equifax on September 8, 2018, that the “Date of
10
     First Delinquency” for the Subject Debt was March 1, 2015, when the date of the first delinquency
11

12   took place on an earlier date, then Defendant’s use of the Time-Barred Debt Disclosure Language

13   constitutes”[t]he use of any false representation or deceptive means to collect or attempt to collect

14   a[] debt” in violation of Section 1692e(10) of the FDCPA.
15          84.      The Time-Barred Debt Disclosure Language violates Section 1692e(10) of the
16
     FDCPA and constitutes a “false representation of deceptive means to collect or attempt to collect”
17
     the Subject Debt because Time-Barred Debt Disclosure Language did not disclose to Plaintiff that
18
     a partial payment could serve to restart the statute of limitations upon which to sue Plaintiff if the
19

20   “Date of First Delinquency” for the Subject Debt was March 1, 2015.

21          85.      Defendant’s violation of Section 1692e(10) of the FDCPA was material because the

22   Time-Barred Debt Disclosure Language improperly influenced Plaintiff’s payment options and
23
     failed to properly explain Plaintiff’s rights to him.
24
            86.      Further, Defendant’s false reporting of the “Date of First Delinquency” allowed
25
     Defendant to re-age the Subject Debt and mischaracterized the age of the Subject Debt relative to
26
     the running of the statute of limitations upon which it could sue Plaintiff for the Subject Debt.
27

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 1      Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
 2   judgment in his favor and against Defendant as follows:
 3
                     a. Declaring that the practices complained of above are unlawful and
 4                      violate Section 1692e(10) of the FDCPA;

 5                   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under
                        15 U.S.C. §1692k(a)(2)(A); and
 6
                     c. Awarding Plaintiff costs and reasonable attorney fees as provided under
 7                      15 U.S.C. §1692k(a)(3).
 8
                  Count V – Individual Claim for Violation of Section 1692f
 9
            87.      Plaintiff incorporates the above Paragraphs as if fully set forth within this Count.
10
            88.      Defendant violated Section 1692f of the FDCPA.
11

12          89.      If Defendant falsely reported to Equifax on September 8, 2018, that the “Date of

13   First Delinquency” for the Subject Debt was March 1, 2015, when the date of the first delinquency

14   took place on an earlier date, then Defendant’s use of the Time-Barred Debt Disclosure Language
15   constitutes an “unfair or unconscionable means to collect or attempt to collect” the Subject Debt in
16
     violation of Section 1692f of the FDCPA.
17
            90.      The Time-Barred Debt Disclosure Language constitutes an “unfair or
18
     unconscionable means to collect or attempt to collect” the Subject Debt in violation of Section
19

20   1692f of the FDCPA because Time-Barred Debt Disclosure Language did not disclose to Plaintiff

21   that a partial payment could serve to restart the statute of limitations upon which to sue Plaintiff if

22   the “Date of First Delinquency” for the Subject Debt was March 1, 2015
23
            91.      Defendant’s violation of Section 1692f of the FDCPA was material because the
24
     Time-Barred Debt Disclosure Language improperly influenced Plaintiff’s payment options and
25
     failed to properly explain Plaintiff’s rights to him.
26
        Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
27

28   judgment in his favor and against Defendant as follows:
                                                     14
     Case 1:19-cv-01145-LJO-JLT Document 1 Filed 08/20/19 Page 15 of 22

 1                   a. Declaring that the practices complained of above are unlawful and
                        violate Section 1692f of the FDCPA;
 2
                     b. Awarding Plaintiff statutory damages of $1,000.00 as provided under
 3
                        15 U.S.C. §1692k(a)(2)(A); and
 4
                     c. Awarding Plaintiff costs and reasonable attorney fees as provided under
 5                      15 U.S.C. §1692k(a)(3).

 6           V.    Class Action Claims
 7           92.     Plaintiff can satisfy the elements of Federal Rule of Civil Procedure 23.
 8
             93.     Plaintiff seeks to represent putative class members in the State of California and/or
 9
     in this judicial District.
10
             94.     Plaintiff and his counsel will fairly, adequately and vigorously represent and protect
11

12   the interests of the proposed class members and has/have no interest antagonistic to those of the

13   putative classes.

14           95.     There are no defenses unique to Plaintiff.
15           96.     On information and belief, Defendant violated Sections 1692e, 1692e(2)(A),
16
     1692e(8), 1692e(10) and 1692f of the FDCPA by transmitting collection letters to more than forty
17
     (40) California residents where the collection letters sent to the putative class members contained
18
     Time-Barred Debt Disclosure Language and Defendant misreported the “Date of First
19

20   Delinquency” for each debt to any credit reporting agency as having occurred less than four (4)

21   years from the date of each collection letter.

22           97.     Plaintiff’s claims are typical of the claims of the proposed class members.
23
             98.     There are questions of law and fact common to the claims of Plaintiff and members
24
     the proposed class members.
25
             99.     Plaintiff and the proposed class members’ claims all arise from the same operative
26
     facts and are based on the same causes of action set forth above.
27

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 1          100.      A class action is an appropriate method for the fair and efficient adjudication of this
 2   controversy, and superior to other available methods for the fair and efficient adjudication of this
 3
     controversy.
 4
            101.      Common questions of law and fact enumerated above predominate over questions
 5
     affecting only individual Class members.
 6

 7          102.      Joinder of all members of the Class is impracticable.

 8          103.      The likelihood that individual Class members will prosecute separate actions is

 9   remote due to the extensive time and considerable expense necessary to conduct such litigation, as
10
     well as the absence of a fee shifting mechanism.
11
            104.      As such, the expense and burden of individual litigation would make it impracticable
12
     for proposed Class members to prosecute their claims individually.
13
                   Count VI – Class Action Claim for Violation of Section 1692e
14

15          105.      Plaintiff incorporates the above Paragraphs and Count I as if fully set forth within

16   this Count.
17          106.      The Time-Barred Debt Disclosure Language violates Section 1692e of the FDCPA
18
     and constitutes a “false, deceptive, or misleading representation or means in connection with the
19
     collection of [a] debt” because Time-Barred Debt Disclosure Language did not disclose to the
20
     proposed class members that a partial payment could serve to restart the statute of limitations upon
21

22   which to sue them if the “Date of First Delinquency” for their debt was improperly reported as

23   taking place less than four (4) years from the date of each class members’ collection letter..

24          107.      Defendant’s violation of Section 1692e of the FDCPA was material because the
25   Time-Barred Debt Disclosure Language improperly influenced the proposed class members’
26
     payment options and failed to properly explain Plaintiff’s rights to him.
27

28
                                                         16
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 1          108.        Further, Defendant’s false reporting of the “Date of First Delinquency” allowed
 2   Defendant to re-age the Subject Debt and mischaracterized the age of the Subject Debt relative to
 3
     the running of the statute of limitations upon which it could sue proposed class members for the
 4
     Subject Debt.
 5
            109.        The proposed class members can be defined as:
 6

 7                      All to residents of California [or this judicial district], who were mailed a
                        form collection letter similar to the one sent to Plaintiff, within one year of
 8                      the filing of this lawsuit, where Defendant used the Time-Barred Debt
                        Disclosure Language and the “Date of First Delinquency” for each subject
 9                      debt was falsely or inaccurately reported to any credit reporting agency by
                        Defendant as having occurred less than four years prior to the dated
10
                        identified on each class members’ collection letters.
11
        Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
12
     judgment in his favor and against Defendant as follows:
13
                        a. Declaring that the practices complained of above are unlawful and
14                         violate Section 1692e of the FDCPA;
15
                   b.       Awarding class members statutory damages of up to $500,000 pursuant
16                          to 15 U.S.C. §1692k(a)(2)(B); and

17                 c.       Awarding Plaintiff costs and reasonable attorney fees as provided
                            under 15 U.S.C. §1692k(a)(3).
18
                   Count VII – Class Action Claim for Violation of Section 1692e(2)(A)
19
            110.        Plaintiff incorporates the above Paragraphs and Count II as if fully set forth within
20
21   this Count.

22          111.        Defendant violated Section 1692e(2)(A) of the FDCPA.
23          112.        If Defendant falsely reported any credit reporting agency that the “Date of First
24
     Delinquency” for the debts of the proposed class members took place earlier the actual date of the
25
     date of the first delinquency, Defendant’s report to Equifax constitutes a “false representation of .
26
     . . the character [and] legal status of” the Subject Debt in violation of Section 1692e(2)(A) of the
27

28   FDCPA.
                                                           17
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 1          113.     The Time-Barred Debt Disclosure Language constitutes a “false representation of .
 2   . . the character [and] legal status of” the Subject Debt in violation of Section 1692e(2)(A) of the
 3
     FDCPA because Time-Barred Debt Disclosure Language did not disclose to the proposed class
 4
     members that a partial payment could serve to restart the statute of limitations upon which to sue
 5
     them if the “Date of First Delinquency” for their debt was improperly reported as taking place less
 6

 7   than four (4) years from the date of each class members’ collection letter.

 8          114.     Defendant’s violation of Section 1692e(2)(A) of the FDCPA was material because

 9   the Time-Barred Debt Disclosure Language improperly influenced Plaintiff’s payment options and
10
     failed to properly explain Plaintiff’s rights to him.
11
            115.     Further, Defendant’s false reporting of the “Date of First Delinquency” allowed
12
     Defendant to re-age the Subject Debt and mischaracterized the age of the Subject Debt relative to
13
     the running of the statute of limitations upon which it could sue the proposed class members for the
14

15   Subject Debt.

16          116.     The proposed class members can be defined as:
17                   All to residents of California [or this judicial district], who were mailed a
                     form collection letter similar to the one sent to Plaintiff, within one year of
18
                     the filing of this lawsuit, where Defendant used the Time-Barred Debt
19                   Disclosure Language and the “Date of First Delinquency” for each subject
                     debt was falsely or inaccurately reported to any credit reporting agency by
20                   Defendant as having occurred less than four years prior to the dated
                     identified on each class members’ collection letters.
21
        Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
22

23   judgment in his favor and against Defendant as follows:

24                   a. Declaring that the practices complained of above are unlawful and
                        violate Section 1692e(2)(A) of the FDCPA;
25
                     b. Awarding class members statutory damages of up to $500,000 pursuant
26                      to 15 U.S.C. §1692k(a)(2)(B);and
27
                     c. Awarding Plaintiff costs and reasonable attorney fees as provided under
28                      15 U.S.C. §1692k(a)(3).
                                                      18
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 1                 Count VIII – Class Action Claim for Violation of Section 1692e(8)
 2          117.      Plaintiff incorporates the above Paragraphs and Count III as if fully set forth within
 3
     this Count.
 4
            118.      Defendant violated Section 1692e(8) of the FDCPA.
 5
            119.      If Defendant falsely reported any credit reporting agency that the “Date of First
 6

 7   Delinquency” for the debts of the proposed class members took place earlier the actual date of the

 8   date of the first delinquency, Defendant’s report to Equifax constitutes the communication of

 9   “credit information” that it knew or should have known “to be false” in violation of Section
10
     1692e(8) of the FDCPA.
11
            120.      Defendant’s violation of Section 1692e(8) of the FDCPA was material because
12
     Defendant’s false reporting of the “Date of First Delinquency” allowed Defendant to re-age the
13
     Subject Debt and mischaracterized the age of the Subject Debt relative to the running of the statute
14

15   of limitations upon which to sue for the Subject Debt.

16          121.      The proposed class members can be defined as:
17                    All to residents of California [or this judicial district], who were mailed a
                      form collection letter similar to the one sent to Plaintiff, within one year of
18
                      the filing of this lawsuit, where Defendant used the Time-Barred Debt
19                    Disclosure Language and the “Date of First Delinquency” for each subject
                      debt was falsely or inaccurately reported to any credit reporting agency by
20                    Defendant as having occurred less than four years prior to the dated
                      identified on each class members’ collection letters.
21
        Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
22

23   judgment in his favor and against Defendant as follows:

24                    a. Declaring that the practices complained of above are unlawful and
                         violate Section 1692e(8) of the FDCPA;
25
                      b. Awarding class members statutory damages of up to $500,000 pursuant
26                       to 15 U.S.C. §1692k(a)(2)(B); and
27
                      c. Awarding Plaintiff costs and reasonable attorney fees as provided under
28                       15 U.S.C. §1692k(a)(3).
                                                       19
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 1                 Count IX – Class Action Claim for Violation of Section 1692e(10)
 2          122.      Plaintiff incorporates the above Paragraphs and Count IV as if fully set forth within
 3
     this Count.
 4
            123.      Defendant violated Section 1692e(10) of the FDCPA.
 5
            124.      If Defendant falsely reported any credit reporting agency that the “Date of First
 6

 7   Delinquency” for the debts of the proposed class members took place earlier the actual date of the

 8   date of the first delinquency, then Defendant’s use of the Time-Barred Debt Disclosure Language

 9   constitutes”[t]he use of any false representation or deceptive means to collect or attempt to collect
10
     a[] debt” in violation of Section 1692e(10) of the FDCPA.
11
            125.      The Time-Barred Debt Disclosure Language violates Section 1692e(10) of the
12
     FDCPA and constitutes a “false representation of deceptive means to collect or attempt to collect”
13
     the Subject Debt because Time-Barred Debt Disclosure Language did not disclose to the proposed
14

15   class members that a partial payment could serve to restart the statute of limitations upon which to

16   sue them if the “Date of First Delinquency” for their debt was improperly reported as taking place
17   less than four (4) years from the date of each class members’ collection letter.
18
            126.      Defendant’s violation of Section 1692e(10) of the FDCPA was material because the
19
     Time-Barred Debt Disclosure Language improperly influenced Plaintiff’s payment options and
20
     failed to properly explain Plaintiff’s rights to him.
21

22          127.      Further, Defendant’s false reporting of the “Date of First Delinquency” allowed

23   Defendant to re-age the Subject Debt and mischaracterized the age of the Subject Debt relative to

24   the running of the statute of limitations upon which it could sue the proposed class members for the
25   Subject Debt.
26
            128.      The proposed class members can be defined as:
27
                      All to residents of California [or this judicial district], who were mailed a
28                    form collection letter similar to the one sent to Plaintiff, within one year of
                                                          20
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 1                    the filing of this lawsuit, where Defendant used the Time-Barred Debt
                      Disclosure Language and the “Date of First Delinquency” for each subject
 2                    debt was falsely or inaccurately reported to any credit reporting agency by
 3                    Defendant as having occurred less than four years prior to the dated
                      identified on each class members’ collection letters.
 4
        Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
 5
     judgment in his favor and against Defendant as follows:
 6
                      a. Declaring that the practices complained of above are unlawful and
 7
                         violate Section 1692e(10) of the FDCPA;
 8
                      b. Awarding class members statutory damages of up to $500,000 pursuant
 9                       to 15 U.S.C. §1692k(a)(2)(B); and

10                    c. Awarding Plaintiff costs and reasonable attorney fees as provided under
                         15 U.S.C. §1692k(a)(3).
11
                   Count X – Class Action Claim for Violation of Section 1692f
12

13          129.      Plaintiff incorporates the above Paragraphs and Count V as if fully set forth within

14   this Count.

15          130.      Defendant violated Section 1692f of the FDCPA.
16
            131.      If Defendant falsely reported any credit reporting agency that the “Date of First
17
     Delinquency” for the debts of the proposed class members took place earlier the actual date of the
18
     date of the first delinquency, then Defendant’s use of the Time-Barred Debt Disclosure Language
19
     constitutes an “unfair or unconscionable means to collect or attempt to collect” the Subject Debt in
20
21   violation of Section 1692f of the FDCPA.

22          132.      The Time-Barred Debt Disclosure Language constitutes an “unfair or
23   unconscionable means to collect or attempt to collect” the Subject Debt in violation of Section
24
     1692f of the FDCPA because Time-Barred Debt Disclosure Language did not disclose to the
25
     proposed class members that a partial payment could serve to restart the statute of limitations upon
26
     which to sue them if the “Date of First Delinquency” for their debt was improperly reported as
27

28   taking place less than four (4) years from the date of each class members’ collection letter.
                                                       21
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 1           133.    Defendant’s violation of Section 1692f of the FDCPA was material because the
 2   Time-Barred Debt Disclosure Language improperly influenced the proposed class members’
 3
     payment options and failed to properly explain their rights to them.
 4
             134.    The proposed class members can be defined as:
 5
                     All to residents of California [or this judicial district], who were mailed a
 6                   form collection letter similar to the one sent to Plaintiff, within one year of
 7                   the filing of this lawsuit, where Defendant used the Time-Barred Debt
                     Disclosure Language and the “Date of First Delinquency” for each subject
 8                   debt was falsely or inaccurately reported to any credit reporting agency by
                     Defendant as having occurred less than four years prior to the dated
 9                   identified on each class members’ collection letters.
10       Wherefore, Plaintiff, BRIAN DAVIS, respectfully requests that this Honorable Court enter
11
     judgment in his favor and against Defendant as follows:
12
                     a. Declaring that the practices complained of above are unlawful and
13                      violate Section 1692f of the FDCPA;
14                   b. Awarding class members statutory damages of up to $500,000 pursuant
                        to 15 U.S.C. §1692k(a)(2)(B); and
15

16                   c. Awarding Plaintiff costs and reasonable attorney fees as provided under
                        15 U.S.C. §1692k(a)(3).
17
                                        DEMAND FOR JURY TRIAL
18
             Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
19
     this action so triable of right.
20
21   Date: August 20, 2019                                         Respectfully submitted,

22                                                                 By: /s/ Nicholas M. Wajda
23                                                                 Nicholas M. Wajda
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